ROBERT B. GRIFFIN, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Griffin v. CommissionerDocket No. 30967.United States Board of Tax Appeals17 B.T.A. 255; 1929 BTA LEXIS 2331; September 13, 1929, Promulgated *2331  A deductible loss is not sustained under the provisions of the Revenue Act of 1921 on account of the voluntary demolition of buildings where the buildings, together with the land on which they were situated, were purchased for the purpose of providing a site for another building, even though the plans for the new building were abandoned.  Albert R. Palmer, Esq., and Harry W. Stelle, Jr., Esq., for the petitioner.  Bruce A. Low, Esq., for the respondent.  LITTLETON*255  This proceeding involves deficiencies in income tax as determined by the Commissioner for 1923 and 1924 in the respective amounts of $704.42 and $1,164.87, and has for its only issue the question of whether the petitioner is entitled to deduct a loss on account of the demolition of certain buildings which were acquired in connection with a building project which was later abandoned.  The facts were stipulated from which we make the following findings: FINDINGS OF FACT.  The petitioner is a resident of New Jersey and during the years on appeal was president of the Robert Griffin Co. of Jersey City.  In 1922 petitioner purchased a parcel of property adjacent to his residence*2332  on which there stood two family dwellings.  The cost of the buildings, exclusive of the land, was $7,500 and $7,000, respectively.  This purchase was made with a view of erecting a modern apartment house on the land, covering the entire property.  In 1923 the services of an architect were secured, and plans were drawn for a building of an estimated cost of $125,000.  Subsequently, when bids were received from competent contractors to perform the work, the lowest bid received was $200,000, and in 1924, the project was abandoned.  The buildings, however, were demolished, one in 1923 and the other in 1924.  In his income-tax return for 1923, the petitioner deducted a loss on account of the building demolished in such year in the amount of $7,475, such claimed loss being the difference between the cost of $7,500 and $25, the net amount received upon demolition.  A similar loss was claimed in 1924 on account of the demolition of the other building in the amount of $6,975, such amount being the difference between the cost of $7,000 and $25, the net amount realized upon demolition.  Both losses were disallowed by the Commissioner.  *256  OPINION.  *2333  LITTLETON: We are unable to distinguish the principle here presented from that before us in , wherein we held that the cost of buildings voluntarily removed from land in preparation for the future use of such land for other purposes is not a deductible loss, even though the plans with respect to the future use of the land may fail of realization.  The exact date in 1924 when the demolition of the second building was completed and the proposed construction plans were abandoned is not shown, but it does appear that land, with the buildings in question located thereon, was purchased in 1922 for the purpose of constructing an apartment house on the location of these buildings; that in 1923 and 1924 the buildings were demolished; and that in 1924, after plans had been prepared in 1923 for the proposed building and bids had subsequently been secured which were much higher than was anticipated, the construction project was abandoned.  That is, purchase of land and buildings and demolition of the buildings for the purpose of preparing the land for another type of improvement were a part of the same plans, and these plans were abandoned at or about*2334  the time the demolition was completed or shortly thereafter.  We are of the opinion that a deductible loss is not shown to have been sustained under such circumstances.  The fact that a definite part of the cost is attributable to the buildings is not material; clearly it was not a building or buildings which the petitioner desired, but a location for the proposed apartment house.  It would certainly be unreasonable not to look beyond the money consideration involved in a transaction in order to determine gain or loss, where a building was purchased for $7,500 and almost immediately disposed of upon voluntary demolition for $25.  The motivating cause for such destruction and disposition was the improvement of the land for some purpose other than that for which it was then being used.  And even though the plans in contemplation when the purchase and demolition took place were abandoned, this does not necessarily mean that the removal of the buildings did not make the land more valuable for some other purpose.  The cases cited by petitioner; *2335 ; ; and , are easily distinguishable from the case at bar.  Reviewed by the Board.  Judgment will be entered for the respondent.STERNHAGEN STERNHAGEN, dissenting: It is stipulated as a fact that the two buildings cost $7,500 and $7,000 respectively, and that they were demolished *257  in 1923 and 1924.  The conclusion seems to me to follow that the buildings were gone and there was a loss of their cost.  There is no room for equivocation as to whether the investment in the land included any value for the buildings or that the buildings were a worthless burden on the land, for whatever may have been the investment in the land, the buildings had their separate stipulated cost.  If there were any dispute as to the propriety of an allocation of cost as between land and buildings or as to its amount, or as to whether the buildings had any cost, it might be that evidence on that subject would justify the view that no part of the cost should be attributed to the buildings or that the allocation was artificial*2336  and erroneous.  In that case the entire investment would be in the site, and clearing it by demolishing the buildings might be an improvement instead of a loss.  But here the cost of the buildings is stipulated and there is no warrant to shift it to the land, which, so far as appears, may not be able to bear it.  